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Ao 91 (Rev. 08/09) criminal Co`mplamr ' ~ El|~,_`i§n b

 

UNI_TED STATES DISTRICT CoURT »':PF: ct 2913
for the
Southern District of Texas ' .@E@E`§( 0§ 665-iii

United States of America
v.

lVlaria NAVARRETE-De Grubich
(YOB:>1964, COB: l\/lexico)

 

 

Defendant'(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state lthat the following is true to the best of.my knowledge and belief.

 

 

On or about the date(s) of January 20, 2018 \ . in the county of ' _ Brooks in the
Southern - District of Texas " , the defendant(sj Violated: '
Code Sectz`on " ' Ojj%nse Descrl'ption
_ ‘8 U.S.C. § 1324(a)(1)(A)(iii) ` ' Alien Smugg|ing
8 U.S.C. § 1324(a)(1)'(A)(v)(|) ` l Knowing or in reckless disregard of the fact that Obed CRUZ-Chay (COB:

Guatemala) and others, who were_allens, Who had come to, entered or remain
in the United States in violation of law, concea|s, harborsl or shields from
detection or attempts to conceal, harbor, or shield from detection, such alien in
any placel including any building or any means of transportation; to Wit:
conspiracy to transportation from a place` in lVchllen Texas to another place in
lVchllen, Texas. ~

This criminal complaint is based on these facts:

SEE "ATFACHl\/IENT A"

v/ Continued on the attached sheet.

Complainant ’s signature

 

Brian Yontz, Hsi TFo

P)'inted naine and title '

Date: 4/2/2018 - ` ' ' _ ' ij,.,..»===-=__=___`
_ . . //S/ Jua’ge ’s signature _
City and state: |Vchl|en, Texas ' C/ J / ott Hacker, U. S. l\/lagistrate Judge

 

Printed name and title

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ATTACHMENT A

l, Brian Yontz, am a Task Force Officer (TFO) assigned to the United States Homeland

1.

Security lnvestigations (HSI), and have knowledge of the following facts:

`On January 20, 2018, U.S. Border Patrol agents (BPA) encountered a white 2004

Freightliner semi-tractor hauling a white Wabash trailer as it approached the primary
inspection lanes at the Falfurrias U.S. Border Patrol Checkpoint. During the primary
immigration inspection, a Department canine alerted to‘the semi-tractor and trailer.
The semi-tractor andtrailer was_placed in secondary inspection and searched

During the search of the trailer, agents discovered fifty-seven (57) undocumented
aliens (UDAs) concealed insi`de. Upon questioning, all fifty-seven (57) UDAs
admitted to being illegally present in the United States. `

.' One of the'UDAs_ in the trailer, Jose~ Feliciano RUlZ-l\/lurillo, was advised of his

l\/liranda Warnings by HS| TFO Yontz, which he stated he understood and
subsequently waived in Writing. Post-l\/liranda, RUlZ-l\/|urillo admitted that he gave
instructions to the_ UDAs and told them to get into the trailer. .

During the investigation, agents interviewed numerous UDAs and gathered
information from several cellphones and pocket trash. Agents were able to identify

` one phone number from a cellphone as belonging to l\/laria_Navarrette-De Grubich.

Agents Were able to show several UDA’s a photo line-up and three UDA’s were able
to identify l\/laria Navarrete-De Groubich as a stash house caretaker and the person
who transported them to the semi-_tractor and trailer. 4

l\/laterial Witness, Ob'ed'Nata'nael CRUZ-Chay, a citizen of Guatemala Who was
unlawfully in the United States, stated he crossed the Rio'Grande River on January
10, 2018, with approximately nine (9) other persons`. After crossing, he and four (4)
other UDAs in the group were picked up in a black sports utility vehicle (SUV) by
l\/laria NAVARRETE-De Grubich. He said NAVARRETE-De Grubich transported
them to a human stash house, opened the gate, and the group of UDAs went inside.
He' told agents that the group stayed at the human stash house for approximately
one week. He said that NAVARRETE-De Grubich dropped off groceries n`ightly and '
the UDAs cooked the food. He stated that NAVARRETE-De Grubich initially took

~ five (5) UDAs from the human stash house and then returned and transported him

and others to a produce warehouse in the same black SUV. He stated that there

Were approximately forty (40) other UDAs at the Warehouse also, including 'Chinese

and Brazilians. He told agents that the male, later identified as RUlZ-l\/lurillo
instructed the UDAs to get inside the trailer slowly,l crouch down and that it would be
one and one-half hours before they get to the United Stated Border Patrol
Checkpoint. CRUZ-Chay told agents that they were given blankets from inside
duffel bags and Was told to cover themselves because of the cold air. CRUZ-Chay
stated that a male on a forklift then loaded produce into the trailer and later he heard

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the trailer doors close. CRUZ-Chay said that RUIZ- l\/lurillo told the UDAs to be quiet
once they loaded and at the checkpoint.

. 6. CRUZ- -Chay positively identified NAVARRETE- De Grubich` 1n a photo lineup as the
person who transported and harbored the UDAs.

7. UDA inside the semi-trailer, Carlos CORD\OVA-De La Cruz, a'citizen of l\/lexico who
Was unlawfully in the United States, stated .he crossed the Rio Grande River on or
about`January 7, 2018. After crossing, he was picked up and transported to a
human stash house With other UDAs. He told agents that he stayed at the human
stash house for approximately two weeks. He said that NAVARRETE-De Grubich
dropped-off food to the UDAs at the human stash house. He stated that
NAVARRETE-De Grubich transported him _in an SUV to a white box truck, Where he
and other UDAs Were then transported to a warehous'e. He said he was put inside a
semi- trailer and driven before being arrested at- the United Stated Border Patrol
Checkpoint. ~

8., CORDOVA-De La Cruz positively identified NAVARRETE- De Grubich in a photo
lineup as the person who dropped off food at the human stash house and
transported him.

9. UDA inside the semi-trailer, Joel AVlLES-Espinal, a citizen of El Salvador Who Was
unlawfully in the United States, stated he`cross`ed the Rio Grande River o_n or about `
January 15, 2018. He said he Was then taken to a human stash house. He stated
that NAVARRETE-De Grubich dropped off groceries to the UDAs at the human
st'_ash`one time a day, usually in the evenings, and the UDAs cooked the food. He
stated that NAVARRETE-De Grubich transported him in a black Lincoln SUV to a »
box truck, where he and other UDAs were then transported to'a semi-tractor trailer. .\
He said he Was put inside a semi-tr_ailerand driven before being arrested at the

' United Stated Border Patrol Checkpoint. 1

10. AVlLES- Espinal positively identified NAVARRETE- De Grubich in a photo lineup as
the person who dropped off food at the human stash house and transported him.

